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                    Exhibit C-37
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Adult charter school                                  Community College
prepares students for                                 Preparatory Academy
knowledge-based careers.                              Success Story »
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                                    » Community College Preparatory Academy
 School Profile                     	Overview
 City/State:
 Washington, DC                        The Community College Preparatory Academy (CC Prep) is a
                                       free adult charter school for Washington, DC, residents. CC Prep
 School Type:
                                       helps adult learners develop the skills needed to successfully enter
 Adult public charter school
                                       college and gain employment in DC’s knowledge-based economy. It
 Enrollment:                           offers a wide range of academic subjects, as well as counseling and
 167 students                          classes in life- and workforce-skills development. CC Prep students
 Ethnicity:                            are recruited from traditionally underserved populations, including
    99.4% African American             minorities, female heads of households living at or below the
    0.6% Hispanic                      poverty line, and young adults emerging from the foster care system.
                                       As a public charter school, CC Prep is required to accept any DC
                                       adult resident who applies, but the school employs a rigorous
                                       orientation process to ensure that applicants understand the large
                                       commitment required of all students. After just one year, CC Prep is
                                       seeing positive results.



                                    » Challenge
                                       Washington, DC, is a city of contrasts. Fifty percent of residents
                                       have a bachelor’s degree or higher, while thirty-seven percent of
                                       residents are functionally illiterate. CC Prep, which opened its
                                       doors in the fall of 2013, was created to help address this disparity
                                       by preparing underserved adults for college and careers. Connie
                                       Spinner, head of school and the founding executive director of
                                       CC Prep, explained, “We started with a data-analysis process.
                                       We looked at what were the emerging careers in the District
                                       of Columbia and in this region. There are half a million jobs in
                                       administrative technical areas like Microsoft Office Suite. We are
                                       one of the jurisdictions in the nation that is labeled as a knowledge-
                                       based economy. That means that we run mental factories here.
                                       They are places where you have to bring learning to the job and
                                       usually higher-order thinking skills, so it becomes very important
                                       that we have a way for adults to bridge to this kind of 21st-century
                                       employment that most of our country will ultimately move to.”

                                       To prepare its students for knowledge-based careers, CC Prep
                                       needed to provide remediation for students who were unable to
                                       complete high school, have not worked for many years, or have
                                       aspirations for career advancement. Many students enter the
                                       school with backgrounds similar to that of Samantha Wallace, a CC
                                       Prep student who is interested in getting her Microsoft Office Suite
                                       certification. “I have a grade-school level of math and a high-school
                                       level of English and writing. So I need to get my math skills brushed
                                       up and get a higher level of English and writing to do my job in the
                                       future,” said Wallace.


2 Success Story: Community College Preparatory Academy
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» Solution
                                                                               “The world of education is changing
  CC Prep’s school facility, schedule, and curriculum were purposely           in a way that will make it almost a
  designed to serve the needs of its adult students, many of whom are          necessity for someone to be able to
  single parents and/or work. The building is a relatively small facility of   continue to learn. We’re going to
  25,000 square feet because two-thirds of the instruction is online. It       have students who are going to drop
  is located close to bus and metro lines for easy access. Face-to-face        in and drop out and drop back in to
  instruction is offered in three-hour blocks, repeated three times a day,     education for most of their lives. That
  so students can choose which block to attend to suit their schedule.         means that they’ve got to be able to
                                                                               do it at a time and in a place that’s
  The school undertook an extensive review process to select an
                                                                               comfortable for them. They’ve got to
  online curriculum to meet its needs. “We spent a year and a half
                                                                               learn how to learn online.”
  looking at software material all over this country,” Spinner said.
  “We wanted to use software that aligned with the credentialing                                 — Connie Spinner
  that’s available for adults. We wanted to be certain that there was                  Head of School and Founding
  a direct alignment between the software and the new current                           Executive Director, CC Prep
  demands of the high school equivalency examination and college
  entry exams.” In addition to covering the core areas of reading/             “One of the benefits that Community
  language arts and mathematics, Spinner also wanted a curriculum              College Preparatory Academy offers
  that “provided computer literacy because computer literacy is the            is that we bridge the gap for learning
  new literacy and every American is going to have to learn how to             in terms of going from high school to
  use the computer as a learning tool.” Ultimately, CC Prep chose              college. We have found that a lot of
  Pearson’s MyFoundationsLab as its online curriculum, supplemented            students going into community college
  by Pearson’s online Workforce Education courses, the online tutoring         have to take remedial classes and are
  service Smarthinking, and mentoring services.                                wasting a lot of their money paying
                                                                               for those classes.”
  CC Prep reinforces the online curriculum with face-to-face workshops
  that enable students to apply what they have learned. Mark Purvis,
                                                                                                    — Monica Jones
  professor of mathematics, explained, “The key with online learning                 Director of Operations, CC Prep
  is the MyFoundationsLab piece because in that they are learning the
  skills in writing. They are learning the skills in math. And the workshop
  is available to them to reinforce those skills. The number one skill
  is critical thinking or reasoning. It’s more than just the answer. They
  have to know why they got the answer and why the other answers
  are incorrect. Those are the types of skills students have to develop,
  because when they take standardized tests, whether for a job, college,
  or even to pass their GED, that’s the line of questions that’s going to
  be asked of them.”

  The school employs a variety of specialists to support students
  and help them reach their goals. Student success specialists serve
  as academic counselors who meet bi-weekly with students to
  track progress, provide educational assistance or social-service
  referrals, and give moral support. Mentors are available via phone if
  students need additional help with coursework. Lab managers help
  students navigate the online software and gain confidence in using
  technology. Online tutoring is available to help students work through
  specific concepts or assignments. And employment specialists give
  networking, resume-building, and interviewing advice to students who
  are ready to look for a job.
                                                 Success Story: Community College Preparatory Academy 3
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      » Results
             CC Prep evaluates its success based on four outcomes: Is the school getting people ready to complete the
             high school equivalency exam, to enter college, to enter knowledge-based careers, and to become lifelong
             learners? After the school’s first year in operation, outcomes are positive. Fifty percent of CC Prep’s students
             passed the GED, all of its college applicants will enter institutions of higher education at the freshman level,
             eighty percent of students tested passed national certifications, and seventy-five percent of students who
             applied for jobs are now working (see Figure 1). In addition, all of its students passed computer-basics
             assessments, which will help prepare them to be lifelong learners.

             Toria Parnell, a student at CC Prep and a mother, credited the school with helping her reach her goals. “My
             overall goal was to receive my GED, which I received, and I’m planning to enroll in college in the fall so I can
             go to school for radiology.” Parnell is preparing for the ACCUPLACER exam and is on track to enroll as a
             freshman in college, having already earned one college credit. Based on her experience at the school, Parnell
             concluded, “I really love CC Prep. Everyone is very helpful with my learning experience. I have referred a few
             people to CC Prep, and I will continue to do so.”

             Figure 1: CC Prep Statistics, 2013–2014

                            100

                            90

                            80

                            70

                            60
               Percentage




                            50

                            40

                            30

                            20

                            10
                                                                           50%             75%               80%                 100%
                             0
                                                                       50% of students   75% of students   80% of students        100% of all
                                                                       passed the GED     who applied       tested passed      college applicants
                                                                                           for jobs are        national      will enter institutions
                                                                                          now working        certiﬁcations   of higher education
                                                                                                                             at the freshman level




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